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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :

                                               :       Cr. No. 21-738 (BAH)


MICHAEL OLIVERAS,                              :       MOTION FOR STATUS CONFERENCE
                                                       BASED ON DEFENDANT’S FAILURE
                                                       TO COMMUNICATE WITH COUNSEL
               Defendant.                      :



       PLEASE TAKE NOTICE that the defendant, Michael Oliveras, through appointed

counsel, Lori M. Koch, Assistant Federal Public Defender, shall move before the Honorable Beryl

A. Howell, Chief United States District Judge for the District of Columbia, at the United States

Courthouse, District of Columbia, on a date to be set by the Court, for a Status Conference to

determine whether defendant wishes to have appointed counsel continue representation on these

charges and, if so, how he wishes to proceed, for the reasons that follow:

       1. On December 16, 2021, I was appointed to represent defendant Michael Oliveras in this

matter. An initial appearance was held on the criminal complaint on December 16, 2021, before the

Honorable Zia M. Faruqui, United States Magistrate Judge. A Status Conference was scheduled for

January 7, 2022.

       2. On January 7, 2022 a Status Hearing was held before Chief Judge Howell via

videoconference (Defendant resides in New Jersey). On March 11, 2022 another Status Hearing was

held, and a further Status Hearing was set for May 27, 2022. On May 23, 2022, a Joint Status Report

providing requested trial dates and motions deadlines was filed, as well as a Joint Motion to continue

the May 27, 2022 status conference until July 22, 2022, to provide time for the parties to continue to

exchange and review discovery and attempt to negotiate a plea agreement of this matter.
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       3. On May 23,2022, this Court entered a Minute Order adopting the parties’ Joint Proposed

Motions Deadline and Trial Date Schedule. Per that schedule, Pretrial motions are due

10/26/2022; opposition due by 11/7/2022; replies due 11/14/2022; Joint Pretrial Statement due by

12/2/2022; Pretrial Conference scheduled for 1/20/2023 (in-person); jury selection/jury trial

scheduled for 9:00 am on 2/20/23 or 2/27/2023 (exact date to be determined at pretrial

conference).

       4. From that time on, undersigned counsel has received voluminous discovery, including

numerous digital files containing audio and videotapes of CCTV, body worn camera (“BWC”) and

cellphone video files from numerous sources, and a Cellebrite report of the search of defendant’s

cellphone (and copy of the data retrieved from the cellphone), among other discovery. Some of

these items were forwarded to defendant via email when possible; Defendant came in person to

undersigned counsel’s office on Monday, October 17, 2022 to view them.

       5. In addition to discovery, two proposed plea agreements have been extended to defendant.

The most recent one was set to expire Thursday, October 20, 2022. After reviewing some of the

discovery provided, as well as the proposed plea agreement on October 17, 2022, defendant left

undersigned counsel’s office and appeared unhappy with counsel’s advice and information. He took

with him a copy of the proposed plea agreement, but did not advise whether he wanted to enter into

the agreement.

       6. Since that date, undersigned counsel has made numerous attempts to contact the

defendant, via cellphone, email and letter. To date, the defendant has not returned any phone calls

nor responded to text messages or emails. A copy of the proposed plea offer, with an extended date

through Monday, October 24, 2022, was mailed via regular mail to the defendant on Friday, October

21, 2022.

       7. The plea offer is set to expire today, Monday, October 24, 2022. Pretrial Motions are due
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in two days, on Wednesday, October 26, 2022. Undersigned counsel is unable to prepare meaningful

Pretrial Motions without the assistance and input of the defendant. Moreover, counsel for the

Government has proposed a number of stipulations for trial which undersigned counsel needs to

review with the defendant, but he will not communicate with counsel. Undersigned counsel can not

prepare for trial without the defendant’s assistance and communication.

       8.    For these reasons, it is respectfully requested this Court hold a status conference, via

videoconference call, with the parties including the defendant present, to ascertain whether

defendant will cooperate with appointed counsel or plans to retain private counsel (or proceed pro

se), and to set a date with sufficient advance notice that undersigned counsel can notify defendant in

mail of the date of the videoconference (or have Pretrial Services notify him).

       9. It is further respectfully requested that any time delay from the filing of the instant motion

through the time a hearing is held with the defendant present, be excluded pursuant to 18 U.S.C. §

3161(h)(1)(D), which excludes from computation of “speedy trial” time, any “delay resulting from

any pretrial motion, from the filing of the motion through the conclusion of the hearing on, or other

prompt disposition of, such motion[.]”

                                               Respectfully submitted,

                                               /s Lori M. Koch
                                               Lori M. Koch, Esq.
                                               Assistant Federal Public Defender

DATED: October 24, 2022

TO:    Anthony L. Franks
       Assistant United States Attorney
       Eastern District of Missouri (On detail to the District of Columbia)
       Thomas F. Eagleton Courthouse
       111 South 10th Street, Suite 20.333
       Saint Louis, Missouri 63102
       (via email)

       Michael Oliveras (regular mail)
